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 MINUTE ENTRY
 November 15, 2018

 ELIZABETH E. FOOTE
 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF LOUISIANA
 SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                         CRIMINAL NO. 16-cr-00214-02-06

 VERSUS                                           JUDGE ELIZABETH FOOTE

 DAVID SMITH, ET AL.                              MAGISTRATE JUDGE HORNSBY


        In advance of the sentencing hearings set for November 28, 2018, the Court hereby

 advises the parties of the following:

        1.     Several of the defendants’ presentence reports (“PSR”) impose a three-point

               enhancement, pursuant to U.S.S.G. § 3B1.1(b), because the defendant was

               a manager or supervisor and the criminal activity involved five or more

               participants.   Only one defendant has objected to this enhancement.

               Nonetheless, at sentencing, the Government should be prepared to present

               sufficient evidence to sustain the leadership enhancement for each

               defendant.

        2.     For several defendants, the agreed-upon restitution figure represents the

               respective defendant’s salary at Explo over a certain number of years. “The

               general rule is that a district court can award restitution to victims of the

               offense, but the restitution award can encompass only those losses that



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             resulted directly from the offense for which the defendant was convicted.”

             United States v. Maturin, 488 F.3d 657, 660-61 (5th Cir. 2007). This rule is

             broadened in conspiracy cases to allow restitution to any person directly

             harmed by the defendant’s criminal conduct. Id. at 661. Notwithstanding

             those general limitations, 18 U.S.C. § 3663(a)(3) provides that the Court may

             order restitution to the extent agreed upon by the parties. In the instant

             case, the restitution figures recommended in the PSR were stipulated to in

             the plea agreements, and no party has objected to those amounts.            At

             sentencing, the parties should be prepared to articulate how the proposed

             restitution amounts are reflective of losses that resulted directly from the

             criminal activity, or alternatively explain the relationship between the

             defendant’s conduct, the restitution amount, and the victim to whom it

             should be paid. In the event the Court imposes restitution, the Government

             must be prepared to identify the specific victim or victims to whom restitution

             would be made payable and the precise amount owed to each victim.

       3.    Defendant Callihan has objected to the factual section of his PSR, requesting

             that the PSR “clarify that information relating to conduct by any of the other

             defendants that predated Callihan’s involvement with Explo should not be

             attributed to Callihan directly or indirectly.” At sentencing, Callihan should

             be prepared to support this objection with argument and evidence.

       4.    If any motions will be filed related to sentencing, those should be filed no



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             later than Wednesday, November 21, 2018.

       5.    Because of the nature of the charges and the overlap of legal issues to be

             addressed at sentencing, the Court’s intention is to handle the presentation

             of evidence and objections by the parties first, as a group, before proceeding

             to the individualized sentencing of each defendant.        If there are any

             objections to this proposal, please inform the Court by Wednesday,

             November 21, 2018 by emailing foote_motions@lawd.uscourts.gov.

       IT IS SO ORDERED.




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